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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
       JENNIFER MALETTERI,                           :
                                                     : CIVIL ACTION NO.:
                              Plaintiff,             :       5:21-cv-00283-JMG
                                                     :
               v.                                    :
                                                     : Judge John M. Gallagher
       THE RED ROSE VILLAGE OF                       :
       LANCASTER, INC.,                              : Electronically Filed
                                                     :
                              Defendant.             :
                                                     :


                              DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Jennifer

Maletteri hereby dismisses all of the claims asserted and that could have been asserted in this

Complaint, with prejudice, without fees or costs to any party.

                                                  WEISBERG CUMMINGS, P.C.

February 23, 2021                                 /s/ Larry A. Weisberg
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